                             Case 2:24-cv-02086-HDV-DFM Document 14 Filed 04/11/24 Page 1 of 2 Page ID #:90



                                               1    BUCHALTER
                                                    A Professional Corporation
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                                               4    Telephone: 949.760.1121
                                                    Fax: 949.720.0182
                                               5    Email: mseror@buchalter.com
                                               6    Attorneys for Defendant
                                                    MELT COSMETICS
                                               7
                                               8
                                                                                 UNITED STATES DISTRICT COURT
                                               9
                                                                             CENTRAL DISTRICT OF CALIFORNIA
                                       10
                                                   AUGUST IMAGE, LLC,                                Civil Action No. 2:24-cv-2086
                                       11
                                                                    Plaintiff,                      STIPULATION TO EXTEND TIME
                                       12                                                           FOR DEFENDANT TO FILE
                                                           vs.                                      RESPONSE TO COMPLAINT
                                       13
                                                   MELT COSMETICS,                                   Current Due Date: 4/11/2024
                                       14
                                                                    Defendant.                       New Due Date:          5/10/2024
                                       15
                                       16
                                                           Plaintiff August Image, LLC (“Plaintiff”) and Defendant Melt Cosmetics
                                       17
                                                   (“Defendant”), by and through their respective counsel of record, hereby stipulate
                                       18
                                                   and agree as follows:
                                       19
                                                           1.       Plaintiff served Defendant with the complaint filed in this action on
                                       20
                                                   March 21, 2024, resulting in a responsive pleading due date of April 11, 2024;
                                       21
                                                           2.       Defendant has requested, and Plaintiff has granted, an extension of
                                       22
                                                   time to May 10, 2024 for Defendant to respond to the Complaint.
                                       23
                                                           3.       This is the first extension requested or granted in this action by
                                       24
                                                   Defendant and does not extend the due date past 30 days of the original responsive
                                       25
                                                   pleading due date.
                                       26
                                                           4.       As a result, Defendant’s deadline to file a response to the Complaint is
                                       27
                                                   extended to May 10, 2024.
                                       28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E
                                                    Stipulation to Extend Time                                           Civil Action No. 2:24-cv-2086
                                                   BN 81975987v1
                             Case 2:24-cv-02086-HDV-DFM Document 14 Filed 04/11/24 Page 2 of 2 Page ID #:91



                                               1 DATED: April 11, 2024
                                                                                   COPYCAT LEGAL PLLC
                                               2
                                               3                                   By:            /s/ Lauren H. Hausman
                                                                                             Lauren M. Hausman
                                               4                                             Attorneys for Plaintiff
                                                                                             AUGUST IMAGE, LLC
                                               5
                                                   DATED: April 11, 2024           BUCHALTER
                                               6                                   A Professional Corporation
                                               7
                                               8                                   By:          /s/ Matthew L. Seror
                                                                                               MATTHEW L. SEROR
                                               9                                                AARON M. LEVINE
                                                                                               Attorneys for Defendant
                                       10                                                       MELT COSMETICS
                                       11
                                       12       Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other
                                       13 signatories listed, and on whose behalf this filing is submitted, concur in the filing’s
                                          content and have authorized the filing.
                                       14
                                       15
                                                                                   By:             /s/ Matthew L. Seror
                                       16                                                            Matthew L. Seror

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          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E
                                                                                       2
                                                    Stipulation to Extend Time                               Civil Action No. 2:24-cv-2086
                                                   BN 81975987v1
